          Case 4:20-mj-00743-KPJ Document 1 Filed 09/09/20 Page 1 of 1 PageID #: 1


AO 91 (Rev. 11/11) Criminal Complaint
                                                ORIGINAL                                                   LED
                                     United States District Court                                      SEP - 9 2020
                                                             for the
                                                                                                  Clerk, U.S. District Court
                                                  Eastern District of Texas                        Eastern District of Texas


                 United States of America                       )
                                v.                              )
                                                                ) Case No. 4:20MJ743
            GUY ZACHARY KLOSSNER
                                                                )
                                                                ) SEALED
                                                                )
                                                                )
                          Defendant(s)


                                             CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of                         July 24,2020 in the county of                            De!
      Eastern District of Texas , the defendant(s) violated:

             Code Section Offense Description



 18 U.S.C. § 115(a)(1)(B) Influencing Federal Official by Threat
 18 U.S.C. § 875(c) Interstate Communications with Intent to Extort




          This criminal complaint is based on these facts:

See the attached affidavit




          sf Continued on the attached sheet.




                                                                            U.S. Capitol Police, Vincent Veloz, Special Agent
                                                                                          Printed name and title


Sworn to before me and signed in my presence.



Date:              09/09/2020

                                                                        Kimberly C. Priest Johnson, Magistrate Judge
 City and state: Plano> Texas
                                                                                          Printed name and title
